Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.65 Page 1 of 28



   1   Ashok Ramani (SBN 200020)
   2   DAVIS POLK & WARDWELL LLP
       1600 El Camino Real
   3   Menlo Park, California 94025
   4   Tel: (650) 752-2000
       Fax: (650) 752-2111
   5   ashok.ramani@davispolk.com
   6
     Dana M. Seshens (NY SBN 4148128)
   7 (pro hac vice application forthcoming)
   8 DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
   9 New York, New York 10017

  10 Tel: (212) 450-4000
     Fax: (212) 701-5800
  11 dana.seshens@davispolk.com

  12
       Attorneys for Plaintiff Pfizer Inc.
  13

  14                        UNITED STATES DISTRICT COURT

  15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  16
       PFIZER INC.,                           Case No. 3:21-cv-01980-CAB-JLB
  17
                                Plaintiff, MEMORANDUM OF POINTS AND
  18                                       AUTHORITIES IN SUPPORT OF
               - against -                 PLAINTIFF’S EX PARTE MOTION
  19                                       FOR TEMPORARY RESTRAINING
       CHUN XIAO LI and DOES 1-5,
  20
                                           ORDER AND ORDER TO SHOW
                             Defendants. CAUSE FOR PRELIMINARY
  21                                       INJUNCTION
  22                                          Judge: Cathy Ann Bencivengo
  23

  24

  25

  26

  27

  28



                                                         MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.66 Page 2 of 28



   1                                         TABLE OF CONTENTS
   2
                                                                                                                          PAGE
   3
       I.     INTRODUCTION ........................................................................................... 1
   4
       II.    FACTUAL BACKGROUND ......................................................................... 2
   5
              A.      Pfizer’s Development of Its COVID-19 Vaccine ................................. 3
   6
              B.      Pfizer’s Development of Its Monoclonal Medications ......................... 4
   7
              C.      Ms. Li’s Employment at Pfizer ............................................................. 5
   8
              D.      Pfizer’s Protection of Its Confidential Information .............................. 6
   9
              E.      Pfizer’s Investigation of Ms. Li’s Suspicious Digital
  10
                      Activity.................................................................................................. 8

  11
              F.      Ms. Li Misappropriates Pfizer’s Trade Secrets .................................. 10

  12
              G.      Ms. Li Tries to Resign and Declines an Exit Interview,
                      Giving Rise to This Lawsuit ............................................................... 11
  13
       III.   A TEMPORARY RESTRAINING ORDER IS WARRANTED ................. 13
  14
              A.      Pfizer Is Likely to Succeed on the Merits of Its Claims ..................... 14
  15
                      1.       Ms. Li Misappropriated the Pfizer Trade Secrets..................... 14
  16
                               a.        The Pfizer Trade Secrets ................................................ 14
  17
                               b.        Misappropriation of the Pfizer Trade Secrets ................ 16
  18
                      2.       Ms. Li Breached the Confidentiality Agreement ..................... 18
  19
              B.      Pfizer Will Suffer Irreparable Harm Absent Injunctive
  20
                      Relief ................................................................................................... 18

  21
              C.      The Balance of Hardships Tips Decidedly in Pfizer’s
                      Favor ................................................................................................... 20
  22
              D.      The Public Interest Favors Issuance of a Preliminary
  23
                      Injunction ............................................................................................ 21

  24
              E.      The Relief Requested Preserves the Status Quo ................................. 21

  25
       IV.    A TEMPORARY RESTRAINING ORDER SHOULD BE
              GRANTED EX PARTE WITHOUT NOTICE ............................................. 22
  26
       V.     CONCLUSION ............................................................................................. 23
  27

  28


                                                                 i
                                                                                      MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.67 Page 3 of 28



   1                                      TABLE OF AUTHORITIES
   2
                                                                                                                PAGE
   3   Cases
   4   All. for the Wild Rockies v. Cottrell,
   5     632 F.3d 1127 (9th Cir. 2011).............................................................................. 13

   6   Allstate Ins. Co. v. Rote,
         No. 16-cv-01432, 2016 WL 4191015 (D. Or. Aug. 7, 2016) .............................. 22
   7

   8
       Arizona Dream Act Coal. v. Brewer,
         757 F.3d 1053 (9th Cir. 2014).............................................................................. 18
   9
       Arkley v. Aon Risk Servs. Companies, Inc.,
  10     No. 12-cv-1966, 2012 WL 12885707 (C.D. Cal. June 13, 2012) ........................ 18
  11 Beckman Instruments, Inc. v. Cincom Sys., Inc.,
  12   165 F.3d 914, 1998 WL 783774 (9th Cir. 1998) ................................................. 19

  13   BOKF, NA v. Estes,
        923 F.3d 558 (9th Cir. 2019)................................................................................ 13
  14

  15
       ESI Grp. v. Wave Six, LLC,
         No. 17-CV-2293-TWR, 2021 WL 5206136 (S.D. Cal. Nov. 9, 2021)................ 14
  16
       Farris v. Seabrook,
  17     677 F.3d 858 (9th Cir. 2012)................................................................................ 13
  18 Indep. Techs., LLC v. Otodata Wireless Network, Inc.,
  19   No. 20-CV-72-RJC-CLB, 2020 WL 1433525 (D. Nev. Mar. 23, 2020) ............. 19

  20   Int’l Ass’n of Plumbing & Mech. Officials v. Int’l Conference of Bldg. Officials,
         No. 95–55944, 1996 WL 117447 (9th Cir. Mar. 15, 1996) ................................. 19
  21

  22
       Intertek Testing Servs., N.A., Inc. v. Pennisi,
         443 F.Supp. 3d 303 (E.D.N.Y. Mar. 9, 2020) ...................................................... 18
  23
       Kraus USA, Inc. v. Magarik,
  24     No. 17-cv-6541, 2020 WL 2415670 (S.D.N.Y. May 12, 2020) .......................... 18
  25 MAI Sys. Corp. v. Peak Comput., Inc.,
  26  991 F.2d 511 (9th Cir. 1993)................................................................................ 16

  27   Regeneron Pharms., Inc. v. U.S. Dep’t of Health & Hum. Servs.,
         No. 20-CV-10488, 2020 WL 7778037 (S.D.N.Y. Dec. 30, 2020) ...................... 21
  28


                                                              ii
                                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.68 Page 4 of 28



   1   Rent-A-Center., Inc. v. Canyon Television & Appliance Rental, Inc.,
         944 F.2d 597 (9th Cir. 1991)................................................................................ 19
   2

   3   Shutterfly, Inc. v. ForeverArts, Inc.,
         No. 12-cv-3671, 2012 WL 2911887 (N.D. Cal. July 13, 2012) .......................... 23
   4
       Softketeers, Inc. v. Regal W. Corp.,
   5     No. 19-cv-519-JVS-JDEx, 2019 WL 4418819 (C.D. Cal. May 6, 2019) ........... 19
   6
       Spring Design, Inc. v. Barnesandnoble.com, LLC,
   7     No. 09-cv-05185, 2009 WL 10702160 (N.D. Cal. Dec. 1, 2009) ....................... 18
   8   Stuhlbarg Int’l Sales Co. v. John D. Brush & Co.,
         240 F.3d 832 (9th Cir. 2001)................................................................................ 19
   9

  10 Sun Distrib. Co., LLC v. Corbett,
       No. 18-CV-2231-BAS, 2018 WL 4951966 (S.D. Cal. Oct. 12, 2018) ... 14, 15, 16,
  11   21
  12 TGG Mgmt. Co. v. Petraglia,
  13
      No. 19-cv-2007-BAS, 2020 WL 209103 (S.D. Cal. Jan. 14, 2020) .. 15, 17, 21, 22

  14   Toyo Tire Holdings of Americas Inc. v. Cont’l Tire N. Am., Inc.,
         609 F.3d 975 (9th Cir. 2010)................................................................................ 13
  15
       WeRide Corp. v. Kun Huang,
  16    379 F. Supp. 3d 834 (N.D. Cal. 2019) ................................................................. 16
  17
       Zeetogroup, LLC v. Fiorentino,
  18     No. 19-cv-458-JLS, 2019 WL 2090007 (S.D. Cal. May 13, 2019)......... 14, 15, 16
  19   Statutes
  20
       18 U.S.C. § 1836........................................................................................................ 1
  21
       Rules
  22
       Fed. R. Civ. 65 ........................................................................................................... 1
  23

  24   S.D. Cal. Civ. R. 83.3 .............................................................................................. 22

  25

  26

  27

  28


                                                                    iii
                                                                                         MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.69 Page 5 of 28



   1         Plaintiff Pfizer Inc. (“Pfizer”) respectfully submits this memorandum of
   2   points and authorities in support of its motion for an ex parte temporary restraining
   3   order and order to show cause for preliminary injunction pending arbitration of its
   4   trade-secret and breach-of-contract claims against defendant Chun Xiao (Sherry)
   5   Li. See Fed. R. Civ. 65(a)–(b); 18 U.S.C. § 1836(b)(3)(A).
   6   I.    INTRODUCTION
   7         Conventional wisdom says that the cover up is worse than the crime. Pfizer
   8   is not yet sure whether that is the case here, and thus comes to this Court for
   9   expedited relief in support of arbitration. What Pfizer can say for sure is that its
  10   soon-to-be former employee Chun Xiao (Sherry) Li uploaded over 12,000 files—
  11   including scores of confidential Pfizer documents—from her Pfizer-issued laptop
  12   to a personal Google Drive account and onto other personal devices. Clarke Decl.
  13   ¶ 7. Upon learning of Ms. Li’s troubling conduct, Pfizer addressed it with her.
  14   Smith Decl. ¶ 9. Although Ms. Li initially gave the appearance of cooperation, she
  15   instead misled Pfizer about what she took, how she took it, when and why she did
  16   it, and where those files (and possibly others) can be found today. Id. ¶ 10; Clarke
  17   Decl. ¶ 14–15. Indeed, Ms. Li went so far as to provide Pfizer’s security team with
  18   a decoy laptop, leading Pfizer to believe that it was the one she used to download
  19   the 12,000 files from her Google Drive account. See Clark Decl. ¶¶ 14–18.
  20   Forensic analyses confirmed it was not, and Ms. Li (or some third party) likely
  21   remains in possession of the actual computer that contains those 12,000 files. See
  22   id.
  23         Ms. Li’s conduct is all the more troubling because of her impending
  24   departure from Pfizer to begin employment with Xencor, Inc., a Pfizer competitor.
  25   Coleman Decl. ¶ 8. Pfizer cannot stand idly by while Ms. Li’s departure threatens
  26   further dissemination of its prized trade secrets. Although the parties are obligated
  27   to arbitrate the merits of the underlying dispute, only preliminary relief from this
  28


                                                 1
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.70 Page 6 of 28



   1   Court can maintain the status quo and ensure that Pfizer receives the benefits of the
   2   agreed-upon arbitral arrangement.
   3         Under these circumstances, a temporary restraining order and order to show
   4   cause for preliminary injunction are warranted. Pfizer is likely to succeed on the
   5   merits of its claims: Ms. Li has not only acquired over 12,000 files containing
   6   Pfizer confidential information using improper means, but there also is a
   7   significant risk that she will use and disclose the trade-secret information contained
   8   therein, particularly in light of her impending departure from Pfizer. Ms. Li further
   9   has breached her confidentiality obligations to Pfizer by the same conduct. Absent
  10   injunctive relief, Pfizer will suffer irreparable harm: among other harms, Pfizer
  11   will lose the value of its trade secrets forever—a loss that cannot be quantified—if
  12   they were disclosed to a competitor such as Xencor. Finally, temporary injunctive
  13   relief would preserve the status quo pending arbitration, and should be granted ex
  14   parte to prevent Ms. Li from destroying evidence before the Court hears this
  15   Motion.
  16   II.   FACTUAL BACKGROUND
  17         For over 150 years, Pfizer has been an industry leader in the development of
  18   vaccines and drugs for the treatment of life-threatening diseases. As just one
  19   example, Pfizer has been at the forefront of the global effort to develop a vaccine
  20   for COVID-19. Through hard work, ingenuity, perseverance, and billions of
  21   dollars in capital expense, Pfizer secured the first emergency-use authorization in
  22   the United States for its COVID-19 vaccine in December 2020. Meyer Decl. ¶¶ 3–
  23   6. Pfizer’s work related to COVID-19 and other debilitating diseases such as
  24   urothelial carcinoma, Merkel cell carcinoma, and non-small-cell lung cancer, to
  25   name but a few, saves tens of thousands of lives each year.
  26         Success breeds imitation, and competitors have been trying to recruit
  27   Pfizer’s employees relentlessly, especially during 2021. The vast majority of
  28   Pfizer employees choose to remain at Pfizer, pleased to remain on a winning team

                                                 2
                                                               MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.71 Page 7 of 28



   1   that recognizes individuals’ efforts with generous compensation packages and
   2   advancement opportunities within Pfizer. Not so for Ms. Li, who decided to leave
   3   Pfizer for a competitor believed to be Xencor, Inc.
   4         Had Ms. Li chosen to leave Pfizer honorably, she would not be the subject
   5   of this Motion. But she made a different choice: on her way out the door she
   6   transferred onto personal accounts and devices 12,000 files, scores of which
   7   contain Pfizer’s confidential, proprietary, and trade-secret information
   8   (“Confidential Information”), and tried covering her tracks repeatedly. Due to the
   9   sheer number of documents Ms. Li misappropriated, Pfizer has yet to understand
  10   the full scope of confidential information in her possession. While Ms. Li
  11   possesses thousands of documents potentially related to numerous Pfizer vaccines,
  12   drugs, and other innovations, this motion focuses on Pfizer’s COVID-19 vaccine
  13   and its avelumab and elranatamab monoclonal antibodies.
  14         A.     Pfizer’s Development of Its COVID-19 Vaccine
  15         As the COVID-19 pandemic spread globally, Pfizer decided that it had a
  16   moral and scientific imperative to develop and bring to the public a vaccine as
  17   quickly as possible. Pfizer partnered with BioNTech to co-develop an mRNA-
  18   based coronavirus vaccine program, BNT162, aimed at preventing COVID-19
  19   disease. Meyer Decl. ¶ 3. The collaboration leverages Pfizer’s expertise in vaccine
  20   research and development, regulatory capabilities, and global manufacturing and
  21   distribution network. Id. To date, Pfizer has invested over $2 billion of its own
  22   capital to develop its COVID-19 vaccine and has dedicated hundreds of Pfizer
  23   scientists, strategists, and other personnel to the COVID-19 vaccine effort. Id. ¶ 4.
  24         Beginning in March 2020, Pfizer conducted numerous clinical trials and
  25   made various regulatory submissions in collaboration with BioNTech, in an effort
  26   to obtain emergency use authorization for the vaccine from the Food and Drug
  27   Administration (“FDA”). Id. ¶ 6. The FDA so authorized the Pfizer-BioNTech
  28   COVID-19 vaccine on or about December 11, 2020, making it the first COVID-19

                                                 3
                                                               MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.72 Page 8 of 28



   1   vaccine available to the general public. Id. The FDA has since fully approved the
   2   vaccine for individuals 16 and older and has extended emergency use authorization
   3   for children as young as five years old. Id. Needless to say, Pfizer’s vaccine has
   4   been a medical and commercial success. Id.
   5         B.     Pfizer’s Development of Its Monoclonal Medications
   6         The COVID-19 vaccine has rightfully garnered praise and recognition
   7   around the world, but it should not overshadow the important work Pfizer does in
   8   other fields. For example, Pfizer is a world leader in the research and development
   9   of monoclonal antibodies that combat rare and debilitating diseases. Id. ¶ 7.
  10         In general, a body’s immune system attacks foreign substances by
  11   generating a large number of antibodies, which are proteins that bind to certain
  12   targets in the body such as antigens that cause infections. Id. ¶ 8. Once an
  13   antibody attaches to an antigen, it triggers the body’s immune system to target and
  14   destroy cells containing that antigen. Id. A monoclonal antibody is an antibody
  15   made in a laboratory that is designed to bind to a specific antigen, such as an
  16   antigen on the surface of a particular cancer cell. Id. Once the monoclonal
  17   antibody binds to the cancer cell, the body begins targeting and destroying cells
  18   like it. Id. Monoclonal antibodies may also be designed to target immune system
  19   cells to increase their activity against cancer cells. Id.
  20         One of the greatest challenges with respect to developing monoclonal
  21   antibodies is identifying the right antigen to target. Id. ¶ 9. It takes years of
  22   research and development, trial and error work, and hundreds of millions of dollars
  23   in investment capital to investigate a potential new monoclonal antibody. Id. Most
  24   investigational monoclonal antibodies turn out to be failures, and the few that make
  25   it past early phase studies require even more resources and capital to bring to
  26   market. Id. Simply stated, finding the right antigen to target and developing a
  27   compatible monoclonal antibody requires absolute precision; anything short of that
  28   would fail to improve patients’ health and could even prove fatal. Id.

                                                   4
                                                                    MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.73 Page 9 of 28



   1         In 2014, Pfizer entered into an agreement with Merck KGaA to co-develop
   2   avelumab, a groundbreaking monoclonal antibody now sold under the tradename
   3   Bavencio. Id. ¶ 10. Avelumab is FDA-approved to treat a specific type of cancer
   4   in the bladder or urinary tract called urothelial carcinoma (UC) when it has spread
   5   or cannot be removed by surgery. Id. It is also approved for patients with a rare
   6   and aggressive form of skin cancer called Merkel cell carcinoma. Id. Pfizer is
   7   currently researching whether avelumab could treat other forms of cancer, and
   8   whether avelumab could be effectively combined with other drugs. Id. Pfizer has
   9   invested over millions of dollars in the research and development of avelumab and
  10   as a direct result has saved countless lives. Id.
  11         Following in the footsteps of avelumab, Pfizer scientists discovered and
  12   began developing elranatamab, a bispecific monoclonal antibody. Id. ¶ 11.
  13   Bispecific monoclonal antibodies are antibodies that can simultaneously bind to
  14   two different types of antigens or two different target sites on the same antigen. Id.
  15   Pfizer scientists believe elranatamab could be effective in treating multiple
  16   myeloma, a rare blood cancer that affects plasma cells made in the bone marrow.
  17   Id. There is currently a high unmet medical need for treating multiple myeloma,
  18   and Pfizer is in a race with its competitors to develop more advanced treatments.
  19   Id. Recently, the FDA granted elranatamab Fast Track Designation, which is a
  20   process designed to facilitate the development, and expedite the review, of new
  21   drugs and vaccines that are intended to treat or prevent serious conditions that have
  22   the potential to address an unmet medical need. Id. To date, Pfizer has invested
  23   millions of dollars in the research and development of elranatamab, as it hopes
  24   elranatamab will prove to be the company’s next blockbuster drug. Id.
  25         C.     Ms. Li’s Employment at Pfizer
  26         On August 2, 2006, Pfizer hired Ms. Li as Associate Director of Statistics in
  27   Pfizer’s Global Product Development (“GPD”) group based in China. Smith Decl.
  28


                                                  5
                                                               MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.74 Page 10 of 28



   1    ¶ 4. On or around August 22, 2016, Ms. Li transferred to Pfizer’s facility in La
   2    Jolla, California and continued her role as Associate Director of Statistics. Id.
   3          Pfizer’s GPD group is responsible for evaluating drug efficacy and safety in
   4    human clinical trials to obtain regulatory approval for drugs. Meyer Decl. ¶ 12.
   5    Given her role as Associate Director of Statistics, Ms. Li had access to Pfizer’s
   6    Confidential Information related to numerous vaccines and medications, including
   7    the COVID-19 vaccine, avelumab, and elranatamab. Id. ¶ 14.
   8          GPD employees are well aware of their obligations to safeguard Pfizer
   9    confidential information. Id. ¶ 13. In addition to supervisors constantly issuing
   10   reminders about confidentiality, Ms. Li was required to take training courses on
   11   maintaining the confidentiality of Pfizer information. Id.; Smith Decl. ¶ 6. For
   12   example, Ms. Li was required to take a course titled “Collaborate Securely:
   13   Safeguarding Sensitive Pfizer Information” that detailed the importance of
   14   safeguarding Pfizer confidential information. Smith Decl. ¶ 7. Ms. Li took this
   15   training three times in the last five years, on April 17, 2020, May 8, 2018, and
   16   January 20, 2017. Id. Ms. Li also took required trainings on the “Blue Book,” the
   17   Pfizer employee code of conduct, on February 16, 2021, February 13, 2019, April
   18   18, 2017, and November 23, 2016. Id. ¶ 8. This training included reminders about
   19   Pfizer’s corporate policies regarding safeguarding sensitive information. Id.
   20         In addition, as part of her employment with Pfizer, Ms. Li entered into a
   21   Confidentiality Agreement, which imposed a number of restrictions on Ms. Li’s
   22   activities during and after her employment. Id. ¶ 5. For example, by virtue of
   23   executing the Confidentiality Agreement, Ms. Li agreed not to “disclose or use any
   24   Confidential Information” without Pfizer’s written permission, other than in the
   25   course of her employment with Pfizer. Id.
   26         D.     Pfizer’s Protection of Its Confidential Information
   27         Pfizer uses its Confidential Information in connection with Pfizer’s business,
   28   products, and services, including its development, manufacture, and sale of drugs

                                                  6
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.75 Page 11 of 28



   1    and vaccines. Pfizer’s Confidential Information gives Pfizer a substantial
   2    competitive advantage over its existing and would-be competitors, including
   3    Xencor, due to the significant investment of time, money, and resources in
   4    developing drug and vaccine programs, as well as the overall business strategy and
   5    business plans for such programs, drugs, and vaccines. See Meyer Decl. ¶ 20.
   6          Pfizer employs a set of robust measures to protect its intellectual property.
   7    Those measures include employing a dedicated team of in-house forensics
   8    specialists, tracking employee activity on company devices, and using automated
   9    monitoring alerts to escalate suspicious employee activity. Coleman Decl. ¶ 5.
   10         Additionally, Pfizer employs a variety of data-security measures, including
   11   policies, agreements, and blocks on certain activity. Id. ¶ 6. For example, Pfizer’s
   12   corporate policy, entitled Global Acceptable Use of Information Systems Policy
   13   #403, prohibits “unauthorized . . . disclosure, transfer, use or unapproved release of
   14   Pfizer Information,” the use of “unauthorized devices (e.g. personal/home
   15   computers and laptops, public computers, etc.) . . . to transmit, store or work on
   16   Pfizer Information,” and the “[u]nauthorized use of non-Pfizer cloud service
   17   accounts for the storage, computation or transfer of Pfizer information.” Id. In
   18   furtherance of this policy, in October 2021, Pfizer implemented a technology that
   19   monitors when employees upload files to cloud-based platforms such as Google
   20   Drive. Id. And in 2019, Pfizer disabled USB access on all company laptops to
   21   prevent unauthorized transfer of Pfizer files onto external hard drives. Id.
   22         Moreover, Pfizer conducts periodic trainings designed to ensure that
   23   employees are aware of the policies and expectations around data security. Smith
   24   Decl. ¶ 6. These trainings include an overview on the “Blue Book,” the Pfizer
   25   employee code of conduct, and additional training on the company’s acceptable
   26   use and handling sensitive information policies on how to protect and appropriately
   27   share Pfizer information. Id. Pfizer also requires employees to sign, as a condition
   28


                                                  7
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.76 Page 12 of 28



   1    of employment, agreements obligating employees to protect Pfizer’s confidential
   2    documents, information, trade secrets, and intellectual property. Id. ¶ 5.
   3          E.     Pfizer’s Investigation of Ms. Li’s Suspicious Digital Activity
   4          As part of Pfizer’s tracking of employee activity on company devices,
   5    Pfizer’s security team discovered on October 29, 2021, that, between Saturday,
   6    October 23, 2021 and Tuesday, October 26, 2021, Ms. Li transferred over 12,000
   7    files from her Pfizer laptop to an online Google Drive account. Coleman Decl. ¶ 7;
   8    Smith Decl. ¶ 9. Ms. Li was “out of the office” on October 25–26, but,
   9    unbeknownst to Pfizer, she was conducting mass transfers of files from her Pfizer
   10   laptop to her Google Drive account during that time. Coleman Decl. ¶ 8. Pfizer
   11   immediately initiated a digital review of Ms. Li’s emails, her file access, and her
   12   internet activity on her Pfizer-issued laptop. Id. ¶ 7. An investigation into Ms. Li’s
   13   Pfizer email account revealed that she had been interviewing with and had received
   14   an offer of employment from Xencor. Id. ¶ 8.
   15         Pfizer human-resources, security, and digital-forensics personnel spoke with
   16   Ms. Li twice on Friday, October 29, 2021. Id. ¶ 10; Smith Decl. ¶ 9. During the
   17   first conversation by phone with Pfizer human-resources and security personnel,
   18   Ms. Li admitted to having transferred the files and claimed that she did so because
   19   she wanted to organize her files offline and have them for her own personal use.
   20   Smith Decl. ¶ 9. Ms. Li represented that she had transferred the files from the
   21   Google Drive onto an external hard drive using her personal laptop and had not
   22   copied the files elsewhere. Id.
   23         A couple of hours later, Pfizer’s digital-forensics personnel had a second
   24   conversation with Ms. Li via videoconference. Coleman Decl. ¶ 10. Between the
   25   two conversations, Ms. Li had apparently logged onto her Google Drive account
   26   and deleted all of the files saved there. Id. After Ms. Li disclosed that she had
   27   deleted these files, Pfizer personnel asked Ms. Li to come to Pfizer’s La Jolla
   28   office on Monday, November 1, and turn over her external hard drive and personal

                                                  8
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.77 Page 13 of 28



   1    laptop for inspection. Id. ¶¶ 9–10. Ms. Li expressed reluctance to provide her
   2    personal laptop, explaining that it contained personal information, but ultimately
   3    agreed to do so. Id. ¶ 11; Smith Decl. ¶ 10. Later that night, Pfizer personnel
   4    deactivated Ms. Li’s Pfizer system access, her laptop, and her badge. Coleman
   5    Decl. ¶ 11.
   6          On November 1, 2021, Ms. Li came in to Pfizer’s offices in La Jolla to
   7    return her Pfizer-issued laptop. Smith Decl. ¶ 10. Ms. Li also provided a personal
   8    laptop that she led Pfizer to believe was the one she used to download the Pfizer
   9    documents from her Google Drive account onto her external hard drive, as well as
   10   the external hard drive itself. Id. Pending completion of Pfizer’s forensic analyses
   11   of the devices, Pfizer placed Ms. Li on paid administrative leave. Id.
   12         The forensic examination of Ms. Li’s devices revealed that Ms. Li had not
   13   been truthful with Pfizer. Specifically, the forensic examination showed that Ms.
   14   Li downloaded the 12,000 files to a folder having a file path
   15   “C:\Users\cli\Downloads.” Clarke Decl. ¶ 12. This is the Downloads folder
   16   associated with a user having a user profile “cli,” which coincides with Ms. Li’s
   17   first initial and last name. Id. No such user profile or folder exists on Ms. Li’s
   18   Pfizer-issued laptop, the personal laptop she provided Pfizer, or the external hard
   19   drive. Id. ¶ 17. In the opinion of the experienced forensics analyst who conducted
   20   the analysis, the most likely explanation for this discrepancy is that Ms. Li
   21   provided Pfizer with a personal laptop other than the one she used to download the
   22   12,000 files. Id. ¶ 18. The forensics analysis also revealed that the laptop Ms. Li
   23   had provided to Pfizer was hardly used during the week of October 25 when the
   24   downloads occurred, corroborating that she most likely used a different laptop to
   25   initiate the downloads. Id. ¶ 15. This conduct casts doubt on Ms. Li’s truthfulness
   26   but, far more troublingly for Pfizer, indicates that another, unknown laptop likely
   27   contains the 12,000 files she downloaded, which include scores of Pfizer
   28   confidential documents such as the examples below.

                                                  9
                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.78 Page 14 of 28



   1          The forensic examination also showed that a significant number of Pfizer
   2    documents were deleted from her external hard drive prior to turning it in. Id.
   3    ¶ 16. Specifically, forensic examination showed that hundreds of files and folders
   4    having Pfizer-related names were deleted the night of Saturday, October 30, 2021.
   5    Id. She turned the hard drive over to Pfizer on Monday, November 1, 2021
   6    without mentioning anything about these deleted files.
   7          F.      Ms. Li Misappropriates Pfizer’s Trade Secrets
   8          Ms. Li has misappropriated Pfizer’s Confidential Information concerning a
   9    broad range of topics, including information regarding Pfizer’s COVID-19 vaccine
   10   and monoclonal antibody programs. Meyer Decl. ¶ 15. Pfizer’s investigation of
   11   the more than 12,000 files is ongoing, but below are some examples of documents
   12   (the “Pfizer Trade Secrets”) Ms. Li misappropriated that contain such highly
   13   sensitive information:
   14       A September 24, 2021 presentation titled “E2E Clinical Development +
   15         Submissions Playbook” (“E2E Submissions Playbook”) that reflects, among
   16         other things, Pfizer’s analysis of the successes and breakthroughs of Pfizer’s
   17         COVID-19 vaccine study, end-to-end recommendations based on the
   18         COVID-19 study, analysis concerning why the Pfizer and BioNTech
   19         relationship was successful compared to other partnerships, and the
   20         identification of critical data variables for drug studies and ways to manage
   21         them. Id.¶ 16.
   22       A February 21, 2021 presentation titled “Pfizer Oncology Virtual
   23         Hematology Franchise Year Beginning Meeting” (“Virtual Hematology
   24         Presentation”) that contains, among other things, operational goals, key
   25         achievements and key goals for various drugs, development plans and
   26         timelines, key next steps for elranatamab, clinical development overview for
   27         elranatamab, and key strategies for various drugs including elranatamab. Id.
   28         ¶ 17.

                                                10
                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.79 Page 15 of 28



   1        A July 6, 2021 “Clinical Development Plan Document” (“Clinical
   2          Development Plan”) detailing development plans for combining encorafenib
   3          and binimetinib to treat melanoma. The document discusses Pfizer’s clinical
   4          development strategy, rationales, target product profiles, key elements of
   5          statistical analysis, global strategy, pediatric strategy, timelines, as well as a
   6          plethora of other highly sensitive trade secrets and confidential information.
   7          Id. ¶ 18.
   8        A February 20, 2019 presentation titled “Avelumab Case Study –
   9          Implementation of BLRM in Oncology Dose Finding Trials with Multiple
   10         Drug Combinations” (“Avelumab Case Study”), which discusses Pfizer’s
   11         approach to implementing the Bayesian Logistic Regression Model in
   12         studies with multiple drug combination, challenges in designing Phase 1
   13         drug combination studies, dosing strategies for drug combinations,
   14         implementation issues, and specifics related to the design and decision
   15         processes related to Pfizer’s Phase 1 avelumab studies. Id. ¶ 19.
   16         Pfizer did not authorize Ms. Li to transfer the aforementioned Pfizer files to
   17   her personal Google Drive account, and Pfizer is not aware of any legitimate
   18   business purpose for these transfers. See id. ¶ 14.
   19         G.     Ms. Li Tries to Resign and Declines an Exit Interview, Giving
                     Rise to This Lawsuit
   20
              While Pfizer was conducting its investigation, Ms. Li notified Pfizer on
   21
        November 16, 2021 that she was leaving the company and that her last day at
   22
        Pfizer would be November 24, 2021. Smith Decl. ¶ 11. She refused to disclose
   23
        the reason for her departure, including whether she had a new employer. Id. ¶ 11.
   24
        As discussed above, Pfizer’s investigation of Ms. Li’s Pfizer email account showed
   25
        that Ms. Li had received an offer to start at Xencor on November 29, 2021.
   26
        Coleman Decl. ¶ 8.
   27

   28


                                                  11
                                                                  MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.80 Page 16 of 28



   1          Pfizer decided to give Ms. Li a final opportunity to come clean. It asked Ms.
   2    Li to come in for a meeting on Monday, November 22, 2021, to answer some
   3    follow up questions to better understand the pathways that she used to transfer the
   4    12,000 files at issue. Smith Decl. ¶ 12. Pfizer expressed that it would appreciate
   5    Ms. Li’s cooperation in making sure Pfizer’s confidential information does not fall
   6    into the hands of any of its competitors, including her potential new employer
   7    Xencor. Id. Ms. Li declined to meet with Pfizer, stating that she had already
   8    provided Pfizer all the information it requested and citing health issues. Id.
   9          Given that Ms. Li is leaving Pfizer to start work for a competitor, possibly in
   10   less than a week, that Ms. Li has lacked candor and affirmatively misled Pfizer
   11   personnel, and that she appears to remain in possession of Pfizer trade-secret and
   12   confidential information, Pfizer has no choice but to commence this action and
   13   seek a temporary restraining order against her. Indeed, Ms. Li acknowledged in
   14   her signed Confidentiality Agreement that “any breach by me of my obligations
   15   under this agreement . . . would cause irreparable harm to the Company, and that in
   16   the event of such breach the Company shall have . . . the right to an injunction,
   17   specific performance and other equitable relief to prevent violations of my
   18   obligations hereunder.”
   19         Pfizer asserts claims against Ms. Li for: (a) misappropriation of trade secrets
   20   in violation of the Defend Trade Secrets Act of 2016 (“DTSA”), 18 U.S.C. § 1836,
   21   et seq., and the California Uniform Trade Secrets Act (“CUTSA”), Cal. Civ. Code
   22   § 3426, et seq.; (b) breach of contract; (c) conversion; and (d) trespass to chattel.
   23   Pursuant to Ms. Li’s Confidentiality Agreement, Pfizer intends to promptly
   24   commence arbitration proceedings once the status quo is preserved.1
   25

   26         1
              The Confidentiality Agreement further provides that “[d]isputes arising
   27 under this Agreement will be subject to the Mutual Arbitration and Class Waiver
      Agreement.” Ex. 1 (Confidentiality Agt.) ¶ 8. However, the Mutual Arbitration
   28 and Class Waiver Agreement provides that “[e]ither party to this Agreement may
      make application to a court for temporary or preliminary injunctive relief in aid of
                                               12
                                                            MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.81 Page 17 of 28



   1    III.   A TEMPORARY RESTRAINING ORDER IS WARRANTED
   2           “[A] district court may issue interim injunctive relief on arbitrable claims if
   3    interim relief is necessary to preserve the status quo and the meaningfulness of the
   4    arbitration process—provided, of course, that the requirements for granting
   5    injunctive relief are otherwise satisfied.” Toyo Tire Holdings of Americas Inc. v.
   6    Cont’l Tire N. Am., Inc., 609 F.3d 975, 981 (9th Cir. 2010). Here, Pfizer and Ms.
   7    Li have agreed to arbitrate all claims “arising out of and/or directly or indirectly
   8    related to” Ms. Li’s employment with Pfizer, including “claims relating to breach
   9    of contract” and “any other claim under any federal . . . statute . . . or common
   10   law.” Ex. 2 (Arb. Agt.) ¶ 1.
   11          Courts apply the same standard for injunctions to preserve the status quo
   12   pending arbitration and preliminary injunctions generally. See Toyo, 609 F.3d at
   13   982. “To obtain a preliminary injunction, a plaintiff must establish (1) that he is
   14   likely to succeed on the merits, (2) that he is likely to suffer irreparable harm in the
   15   absence of preliminary relief, (3) that the balance of equities tips in his favor, and
   16   (4) that an injunction is in the public interest.” BOKF, NA v. Estes, 923 F.3d 558,
   17   561–62 (9th Cir. 2019) (internal quotations omitted). The Ninth Circuit applies a
   18   “sliding scale” approach, according to which “a stronger showing of one element
   19   may offset a weaker showing of another.” All. for the Wild Rockies v. Cottrell, 632
   20   F.3d 1127, 1131 (9th Cir. 2011). Under this approach, “‘serious questions going to
   21   the merits’ and a balance of hardships that tips sharply towards the plaintiff can
   22   support issuance of a preliminary injunction, so long as the plaintiff also shows
   23   that there is a likelihood of irreparable injury and that the injunction is in the public
   24   interest.” Farris v. Seabrook, 677 F.3d 858, 864 (9th Cir. 2012) (quoting Cottrell,
   25   632 F.3d at 1135). As set forth herein, Pfizer has satisfied each of these elements.2
   26

   27
        arbitration or for the maintenance of the status quo pending arbitration.” Ex. 2
        (Mutual Arb. Agt.) ¶ 1.
   28
               2
                Although Pfizer seeks a temporary restraining order and a preliminary
        injunction, the standard for entry of a TRO in this Circuit is the same as for entry
                                                  13
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.82 Page 18 of 28



   1          A.     Pfizer Is Likely to Succeed on the Merits of Its Claims
   2          Pfizer is likely to succeed on the merits of its claims that Ms. Li has
   3    misappropriated the Pfizer Trade Secrets under the DTSA and CUTSA and that
   4    she has breached the parties’ Confidentiality Agreement.
   5                 1.    Ms. Li Misappropriated the Pfizer Trade Secrets
   6          The elements of trade-secret misappropriation under the DTSA and CUTSA
   7    are “essentially the same.” ESI Grp. v. Wave Six, LLC, No. 17-CV-2293-TWR,
   8    2021 WL 5206136, at *3 (S.D. Cal. Nov. 9, 2021). These include “(1) the
   9    existence and ownership of a trade secret, and (2) misappropriation of the trade
   10   secret.” Sun Distrib. Co., LLC v. Corbett, No. 18-CV-2231-BAS, 2018 WL
   11   4951966, at *3 (S.D. Cal. Oct. 12, 2018) (citing 18 U.S.C. § 1836).
   12                      a.     The Pfizer Trade Secrets
   13         Under both the DTSA and CUTSA, “all forms and types of financial,
   14   business, scientific, technical, economic, or engineering information” can qualify
   15   as a trade secret, so long as: (1) “the owner thereof has taken reasonable measures
   16   to keep such information secret”; and (2) “the information derives independent
   17   economic value . . . from not being generally known to, and not being readily
   18   ascertainable through proper means by, another person who can obtain economic
   19   value from the disclosure or use of the information.” Zeetogroup, LLC v.
   20   Fiorentino, No. 19-cv-458-JLS, 2019 WL 2090007, at *3 (S.D. Cal. May 13,
   21   2019) (citing 18 U.S.C. § 1839(3); Cal. Civ. Code § 3426.1(d)).
   22         Pfizer has identified four examples of Pfizer Trade Secrets (among
   23   numerous others sure to be found following a complete investigation into the
   24   documents misappropriated by Ms. Li), each of which qualifies for trade-secret
   25   protection and relates to Pfizer’s COVID-19 vaccine and/or monoclonal antibody
   26   programs. See supra Section II.F. The E2E Submissions Playbook contains highly
   27   confidential analyses of Pfizer’s COVID-19 vaccine studies as well as end-to-end
   28
        of a preliminary injunction. Rovio Ent. Ltd. v. Royal Plush Toys, Inc., 907 F. Supp.
        2d 1086, 1092 (N.D. Cal. 2012).
                                                14
                                                               MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.83 Page 19 of 28



   1    recommendations based on those studies. Meyer Decl. ¶ 16; see generally Ex. 3.
   2    The Virtual Hematology Presentation discloses Pfizer’s operational goals, clinical
   3    development strategies and timelines, and key steps, goals, and strategies for
   4    various drugs. Meyer Decl. ¶ 17; see generally Ex. 4. The Clinical Development
   5    Plan describes Pfizer’s development plans for combining monoclonal antibodies to
   6    treat melanoma, including target product profiles, key elements of statistical
   7    analysis, global strategy, pediatric strategy, and timelines. Meyer Decl. ¶ 18; see
   8    generally Ex. 5. The Avelumab Case Study discusses Pfizer’s approach to
   9    implementing the Bayesian Logistic Regression Model in studies with multiple
   10   drug combinations, including dosing strategies, implementation issues, and design
   11   and decision processes. Meyer Decl. ¶ 19; see generally Ex. 6.
   12         These documents and types of information constitute trade secrets under the
   13   DTSA and the CUTSA. See, e.g., TGG Mgmt. Co. v. Petraglia, No. 19-cv-2007-
   14   BAS, 2020 WL 209103, at *4–5 (S.D. Cal. Jan. 14, 2020) (finding that “[q]uality
   15   assurance materials,” “[p]roprietary sales and marketing materials,” “[t]raining
   16   materials,” and “financial models, templates, and statements” can constitute
   17   protected trade secrets); Zeetogroup, 2019 WL 2090007, at *3 (holding that
   18   plaintiff sufficiently identified a list of its “advertising campaigns and all of the
   19   associated metrics of the campaign” as a protectable trade secret).
   20         Pfizer employs a variety of measures to protect the Pfizer Trade Secrets,
   21   including, among others, employing a dedicated team of in-house forensics
   22   specialists, tracking employee activity on company devices, and using automated
   23   monitoring alerts to escalate suspicious employee activity. See Coleman Decl. ¶ 5.
   24   Pfizer further requires employees to sign confidentiality agreements, participate in
   25   periodic data security trainings, and abide by various data-security restrictions on
   26   their devices, among other measures. Id. ¶ 6. Under these circumstances, Pfizer
   27   more than adequately guards its Trade Secrets from disclosure. See, e.g., Corbett,
   28   2018 WL 4951966, at *4 (finding trade secrets adequately pled where plaintiff

                                                   15
                                                                  MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.84 Page 20 of 28



   1    restricted access to the trade secrets via employee confidentiality agreements and a
   2    network security system); Zeetogroup, 2019 WL 2090007, at *4 (finding employer
   3    took adequate steps to protect its trade secret through the use of “Proprietary
   4    Information and Inventions Assignment Agreements” and password protection).
   5          The Pfizer Trade Secrets also have significant economic value, particularly
   6    because they are not known or ascertainable by those who could leverage them. If
   7    disclosed, they would provide a competitor such as Xencor with substantial
   8    guidance as to how Pfizer develops and assesses its vaccines and drugs, including
   9    for both its COVID-19 vaccine and monoclonal antibody programs. Meyer Decl.
   10   ¶¶ 16, 20. Such guidance is the result of considerable investment by Pfizer: for
   11   example, Pfizer has invested over $2 billion of its own capital to develop its
   12   COVID-19 vaccine, and has dedicated hundreds of Pfizer scientists, strategists, and
   13   other personnel to the COVID-19 vaccine effort. Id. ¶ 4. See, e.g., MAI Sys. Corp.
   14   v. Peak Comput., Inc., 991 F.2d 511, 521 (9th Cir. 1993) (finding plaintiff’s
   15   customer database qualified as a trade secret in part because of its “potential
   16   economic value” to plaintiff’s competitors); see also WeRide Corp. v. Kun Huang,
   17   379 F. Supp. 3d 834, 847 (N.D. Cal. 2019) (finding trade secrets adequately pled
   18   where source code required “investments of over $45 million” to develop). Pfizer
   19   also invests millions of dollars into investigating each potential new monoclonal
   20   antibody drug. Meyer Decl. ¶¶ 10-11.
   21                       b.    Misappropriation of the Pfizer Trade Secrets
   22         Misappropriation is “nearly identical” under the DTSA and CUTSA, defined
   23   as (1) “[a]cquisition of a trade secret of another by a person who knows or has
   24   reason to know that the trade secret was acquired by improper means,” or
   25   (2) “[d]isclosure or use of a trade secret of another without express or implied
   26   consent” by a person who used improper means to acquire the trade secret or had
   27   knowledge it was improperly acquired. Corbett, 2018 WL 4951966, at *5.
   28


                                                  16
                                                                MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.85 Page 21 of 28



   1          Ms. Li misappropriated the Pfizer Trade Secrets. Between Saturday,
   2    October 23, 2021 and Tuesday, October 26, 2021, Ms. Li transferred over 12,000
   3    files from her Pfizer laptop to an online Google Drive account. Coleman Decl. ¶ 8.
   4    Ms. Li was “out of the office” on October 25–26, but, unbeknownst to Pfizer, she
   5    was conducting mass transfers of files from her Pfizer laptop to her Google Drive
   6    account during that time. Id. These actions constituted improper acquisition of the
   7    Pfizer Trade Secrets, as they were in clear violation of the Confidentiality
   8    Agreement and company policies. Ms. Li did not transmit these documents in the
   9    course of her work for Pfizer. See Petraglia, 2020 WL 209103, at *2, *5 (finding
   10   improper acquisition adequately alleged where forensic analysis of former
   11   employees’ laptops revealed one defendant “connected a personal external USB
   12   storage device to his [work] laptop and accessed various files” and sent “various
   13   [work] materials” to his personal email account).
   14         Given the nature of the Trade Secrets, the timing of their transmission, and
   15   Ms. Li’s apparent imminent plan to work for Xencor, there is significant risk that
   16   Ms. Li used and/or disclosed Pfizer’s Confidential Information contained within
   17   the documents in her interviews with Xencor or in interviews or discussions with
   18   other third parties. Indeed, it appears Ms. Li continues to retain the laptop that she
   19   used to transfer the 12,000 Pfizer files to this day. Clarke Decl. ¶ 18. Pfizer does
   20   not yet know if any use and/or disclosure occurred, but, to the extent that it did,
   21   that would provide another basis for Ms. Li’s liability under the trade-secret laws.
   22   See Petraglia, 2020 WL 209103, at *6 (finding that defendant “used” plaintiff’s
   23   trade secrets where defendant stored nearly identical copies of plaintiff’s Excel
   24   workbooks on its own computers).
   25         Accordingly, Pfizer is likely succeed on the merits of its DTSA and CUTSA
   26   claims.
   27

   28


                                                  17
                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.86 Page 22 of 28



   1                 2.     Ms. Li Breached the Confidentiality Agreement
   2          To prevail on a breach of contract claim under New York law, a plaintiff
   3    must show “the existence of a contract, the plaintiff’s performance pursuant to the
   4    contract, the defendant’s breach of his or her contract obligations, and damages
   5    resulting from the breach.”3 Kraus USA, Inc. v. Magarik, No. 17-cv-6541, 2020
   6    WL 2415670, at *18 (S.D.N.Y. May 12, 2020). Here, Ms. Li entered into the
   7    Confidentiality Agreement with Pfizer in August 2016. Smith Decl. ¶ 5. In
   8    exchange for compensation and other benefits that Pfizer provided to her, see id.,
   9    Ms. Li agreed not to “disclose or use” Pfizer’s “secret or confidential information
   10   and/or trade secrets” without its written permission, Ex. 1 (Confidentiality Agt.)
   11   ¶ 1. Yet as discussed in Section III.A.1.b, supra, Ms. Li “uploaded [Pfizer]
   12   documents for her own personal reference” and sought to “rearrange and organize
   13   her Pfizer documents” for non-business purposes. Smith Decl. ¶ 9. Thus, Pfizer is
   14   likely to succeed on its breach of contract claim as well. See Intertek Testing
   15   Servs., N.A., Inc. v. Pennisi, 443 F.Supp. 3d 303, 337 (E.D.N.Y. Mar. 9, 2020)
   16   (finding likelihood of success on breach of contract claim where employer had a
   17   “legitimate interest in enforcing the confidentiality provision in [the] Employment
   18   Agreement . . . in order to prevent the use and disclosure of its confidential and
   19   proprietary information”).
   20         B.     Pfizer Will Suffer Irreparable Harm Absent Injunctive Relief
   21         To establish irreparable harm, a plaintiff must demonstrate that it is likely to
   22   suffer a harm “for which there is no adequate legal remedy, such as an award of
   23   damages.” Arizona Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir.
   24   2014). Accordingly, while “economic injury alone does not support a finding of
   25

   26   3
       New York law applies only to Pfizer’s breach of contract claim due to the narrow
      choice-of-law provision in the parties’ Confidentiality Agreement. See Spring
   27
      Design, Inc. v. Barnesandnoble.com, LLC, No. 09-cv-05185, 2009 WL 10702160,
   28 at *3 (N.D. Cal. Dec. 1, 2009). California law applies to Pfizer’s state trade-secret
      misappropriation claim. See Arkley v. Aon Risk Servs. Companies, Inc., No. 12-cv-
      1966, 2012 WL 12885707, at *2 (C.D. Cal. June 13, 2012).
                                               18
                                                              MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.87 Page 23 of 28



   1    irreparable harm . . . intangible injuries, such as damage to ongoing recruitment
   2    efforts and goodwill, qualify as irreparable harm.” Rent-A-Center., Inc. v. Canyon
   3    Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991); see also
   4    Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir.
   5    2001) (holding that a company’s “loss of prospective customers or goodwill
   6    certainly supports a finding of the possibility of irreparable harm”).
   7          Given the very nature of a trade secret, the Ninth Circuit has recognized that
   8    “[o]nce a trade secret is enabled to fly from its oubliette, it cannot be recaptured.
   9    Once lost, it is lost forever. The harm is irreparable.” Beckman Instruments, Inc.
   10   v. Cincom Sys., Inc., 165 F.3d 914, 1998 WL 783774, at *2 (9th Cir. 1998),
   11   amended on denial of reh’g (Dec. 4, 1998). Thus, the Ninth Circuit routinely has
   12   upheld a finding of irreparable harm where a party faces a risk of loss of a trade
   13   secret. See, e.g., Indep. Techs., LLC v. Otodata Wireless Network, Inc., No. 20-
   14   CV-72-RJC-CLB, 2020 WL 1433525, at *5 (D. Nev. Mar. 23, 2020), aff’d, 836 F.
   15   App’x 531, 533 (9th Cir. 2020) (finding of irreparable harm sustained where
   16   device manufacturer faced risk that former employees would use its internal
   17   marketing strategies, product information, and customer list); Softketeers, Inc. v.
   18   Regal W. Corp., No. 19-cv-519-JVS-JDEx, 2019 WL 4418819, at *10 (C.D. Cal.
   19   May 6, 2019), aff’d in relevant part, remanded in part on other grounds, 788 F.
   20   App’x 468 (9th Cir. 2019) (finding of irreparable harm upheld where software
   21   company faced risk that former employee would disclose its source code).4
   22         Here, too, Pfizer will suffer irreparable harm absent a TRO or preliminary
   23   injunction because it would otherwise lose the value of the Trade Secrets forever—
   24   a loss that cannot be quantified—if they were disclosed to a third party, let alone to
   25   a competitor such as Xencor. Indeed, the Pfizer Trade Secrets would give a
   26
        4
   27  In entering into the Confidentiality Agreement, Ms. Li agreed that “any breach of
      any of my obligations under this Agreement” would “cause irreparable harm” to
   28 Pfizer. Ex. 3 ¶ 8. Such an agreement can be evidence of irreparable injury. See
      Int’l Ass’n of Plumbing & Mech. Officials v. Int’l Conference of Bldg. Officials,
      No. 95–55944, 1996 WL 117447, at *2 n.3 (9th Cir. Mar. 15, 1996).
                                               19
                                                             MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.88 Page 24 of 28



   1    competitor insight into how to follow Pfizer’s path to COVID-19 vaccine success,
   2    along with strategies for how to replicate Pfizer’s monoclonal antibody programs.
   3    See Meyer Decl. ¶¶ 15-20. For example, the Clinical Development Plan would
   4    allow a competitor to build a similar research and development pipeline for
   5    combining monoclonal antibodies, employ the same target product profiles, and
   6    use the same strategies and timelines. See generally Ex. 5. And the E2E
   7    Submissions Playbook would provide a competitor with blueprints on how to
   8    execute clinical development and regulatory submissions with the same speed and
   9    precision Pfizer did with respect to its COVID-19 vaccine studies. Ex. 3. If
   10   Xencor or another competitor is able to supplant Pfizer’s market position as a
   11   result of Ms. Li’s misappropriation, Pfizer will not be able to restore its reputation
   12   or goodwill to the positions they were in before her theft. Id.
   13         Nor is the risk of disclosure speculative. Ms. Li’s statements and conduct to
   14   date indicate that she wishes to use the Pfizer Trade Secrets for her own benefit—
   15   so much so that she attempted to deceive Pfizer by providing a decoy laptop and
   16   deleting documents from her external hard drive. See Clark Decl. ¶¶ 14–18. And
   17   moreover, in light of her refusal to meet with Pfizer again, Smith Decl. ¶ 12, Pfizer
   18   is unable to take any reasonable measures to protect against disclosure of the Pfizer
   19   Trade Secrets, such as inspecting Ms. Li’s remaining accounts and devices and
   20   quarantining any Pfizer files that may reside within.
   21         C.     The Balance of Hardships Tips Decidedly in Pfizer’s Favor
   22         The balance of hardships here strongly favors Pfizer. Ms. Li will suffer
   23   minimal harm if Pfizer’s request is granted: she will only have to refrain from
   24   committing trade-secret misappropriation and destroying evidence, as well as
   25   endure some modest personal inconvenience in making her devices and accounts
   26   available for forensic review. Pfizer will ensure that Ms. Li’s personal information
   27   is handled with utmost care and will only be accessible to Pfizer’s outside counsel
   28   and outside forensics firm. On the other hand, if the Court denies Pfizer’s request

                                                  20
                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.89 Page 25 of 28



   1    for a preliminary injunction, the harm to Pfizer will be immense: the loss of its
   2    most valuable Trade Secrets and considerable damage to its reputation as the
   3    market leader in next-generation vaccines and monoclonal antibody drugs. See,
   4    e.g., Petraglia, 2020 WL 209103, at *8 (finding plaintiff’s risk of “lost value of its
   5    trade secrets” outweighed any harm to former employees temporarily enjoined
   6    from using, accessing, or copying plaintiff trade secrets in their possession).
   7          D.     The Public Interest Favors Issuance of a Preliminary Injunction
   8          The final factor, the public interest, also weighs heavily in favor of the
   9    requested injunctive relief. See Corbett, 2018 WL 4951966, at *8 (“The public
   10   interest is served when [a] defendant is asked to do no more than abide by trade
   11   laws and the obligations of contractual agreements signed with [his] employer.
   12   Public interest is also served by enabling the protection of trade secrets.”). In light
   13   of the ongoing COVID-19 pandemic and the material impact Pfizer’s vaccine has
   14   had in combating the virus, preservation of the Pfizer Trade Secrets and Pfizer’s
   15   ability to continue unimpeded with its efforts indisputably furthers the public
   16   interest. If Pfizer is unable to safeguard against disclosure of the most sensitive
   17   aspects of its vaccine and drug programs, then it may not be able to complete
   18   future work that promises to save millions of lives. See Regeneron Pharms., Inc. v.
   19   U.S. Dep’t of Health & Hum. Servs., No. 20-CV-10488, 2020 WL 7778037
   20   (S.D.N.Y. Dec. 30, 2020) (finding public interest weighed in favor of enjoining
   21   application of regulation, which plaintiff argued would “risk restricting medical
   22   innovation and limiting Americans’ access to new prescription drugs”).
   23         E.     The Relief Requested Preserves the Status Quo
   24         As set forth in Pfizer’s proposed order that accompanies its Motion, Pfizer
   25   requests not only that Ms. Li be enjoined from using or disclosing Pfizer’s
   26   confidential information and destroying evidence, but also that she be ordered to
   27   provide Pfizer’s outside counsel with attorneys-eyes-only access to her personal
   28   Google Drive account and any other relevant account or device. Such relief is

                                                  21
                                                                 MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.90 Page 26 of 28



   1    essential to preserve the status quo, particularly in light of Ms. Li’s refusal to
   2    disclose her employer, provision of a decoy laptop, and deletion of hundreds of
   3    files from her external hard drive before turning it over to Pfizer. See Clark Decl.
   4    ¶¶ 14–18. Unless Ms. Li turns over her devices and accounts, Pfizer cannot
   5    determine the full extent of her misappropriation or ensure that she does not use or
   6    disclose its trade secrets. See Petraglia, 2020 WL 209103, at *9–10 (enjoining
   7    defendants from “accessing, copying, or using any of [plaintiff’s] documents” and
   8    requiring defendants to “return to [plaintiff] any external drives or USB storage
   9    devices that contain [plaintiff’s] documents” (emphasis added)); Allstate Ins. Co. v.
   10   Rote, No. 16-cv-01432, 2016 WL 4191015, at *7 (D. Or. Aug. 7, 2016) (granting
   11   preliminary injunction ordering employee to return confidential information to
   12   former employer).
   13   IV.   A TEMPORARY RESTRAINING ORDER SHOULD BE GRANTED
              EX PARTE WITHOUT NOTICE
   14
              As set forth in the Declaration of Ashok Ramani accompanying this Motion,
   15
        Pfizer submits that the requested TRO should be granted ex parte without notice to
   16
        Ms. Li. Courts may issue such relief if: “(A) specific facts in an affidavit or a
   17
        verified complaint clearly show that immediate and irreparable injury, loss, or
   18
        damage will result to the movant before the adverse party can be heard in
   19
        opposition; and (B) the movant’s attorney certifies in writing any efforts made to
   20
        give notice and the reasons why it should not be required.” Fed. R. Civ. P.
   21
        65(b)(1); see also S.D. Cal. Civ. R. 83.3(g)(2) (providing that “[a] motion . . . must
   22
        not be made ex parte unless it appears by affidavit or declaration . . . that for
   23
        reasons specified the party should not be required to inform the opposing party”).
   24
        Pfizer satisfies these requirements.
   25
              Ms. Li’s deceptive conduct and interference with Pfizer’s internal
   26
        investigation demonstrate the very material risk that she is willing to take
   27
        additional steps to cover her tracks. If Ms. Li were provided notice of this Motion,
   28


                                                   22
                                                                  MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.91 Page 27 of 28



   1    there would be nothing to stop her from deleting additional documents or disposing
   2    of accounts or devices—just as she deleted hundreds of documents from her
   3    external hard drive before turning over to Pfizer for forensic inspection. Ramani
   4    Decl. ¶ 9. Moreover, to this day, there is reason to believe that Ms. Li retains the
   5    personal laptop that she used to upload 12,000 files that include Pfizer confidential
   6    information to her personal Google Drive account—a laptop that she avoided
   7    relinquishing by providing a decoy device in its stead to Pfizer. Id. Temporary ex
   8    parte relief is therefore necessary to prevent further harm to Pfizer and to prevent
   9    Ms. Li from destroying evidence. See Shutterfly, Inc. v. ForeverArts, Inc., No. 12-
   10   cv-3671, 2012 WL 2911887, at *4 (N.D. Cal. July 13, 2012) (granting TRO ex
   11   parte where “defendant ignored signed obligations regarding the [source] code at
   12   issue” and the existence of a “duplicate Chinese website suggests that defendants
   13   may be able to use the code to the injury of plaintiff even if it is destroyed [in the
   14   United States],” and enjoining defendants from “destroying any current or archived
   15   electronic logs, metadata, and directories . . . as well as any emails and electronic
   16   documents that relate to [plaintiff]”).
   17   V.      CONCLUSION
   18           For the above reasons, Pfizer respectfully requests that the Court grant
   19   Pfizer’s motion and enter a temporary restraining order and preliminary injunction
   20   that:
   21           (a)   Enjoins Ms. Li from further using, disclosing, or transmitting Pfizer’s
   22                 confidential information or trade secrets;
   23           (b)   Enjoins Ms. Li from destroying, manipulating, or otherwise altering
   24                 any of Pfizer’s confidential information and trade secrets in her
   25                 possession, including any electronic information such as metadata that
   26                 shows last access-date and creation date; and
   27           (c)   Directs Ms. Li to provide Pfizer’s outside counsel with attorneys-
   28                 eyes-only access to (i) her personal Google Drive account(s), (ii) any

                                                  23
                                                                   MPA ISO TRO & OSC RE PI
Case 3:21-cv-01980-CAB-JLB Document 4-1 Filed 11/23/21 PageID.92 Page 28 of 28



   1              and all computing devices in her possession, custody, and control, and
   2              (iii) to any other account or device on which she may have stored
   3              Pfizer’s confidential information or trade secrets, as well as to return
   4              any hard copy documents containing Pfizer’s confidential information
   5              or trade secrets.
   6

   7    November 23, 2021                       Respectfully submitted,
   8
                                                s/ Ashok Ramani
   9                                            Ashok Ramani (SBN 200020)
   10
                                                DAVIS POLK & WARDWELL LLP
                                                1600 El Camino Real
   11                                           Menlo Park, California 94025
   12                                           Tel: (650) 752-2000
                                                Fax: (650) 752-2111
   13                                           ashok.ramani@davispolk.com
   14
                                                Dana M. Seshens (NY SBN 4148128)
   15                                           (pro hac vice application forthcoming)
   16                                           DAVIS POLK & WARDWELL LLP
                                                450 Lexington Avenue
   17                                           New York, New York 10017
   18                                           Tel: (212) 450-4000
                                                Fax: (212) 701-5800
   19                                           dana.seshens@davispolk.com
   20
                                                Attorneys for Plaintiff Pfizer Inc.
   21

   22

   23

   24

   25

   26

   27

   28


                                               24
                                                              MPA ISO TRO & OSC RE PI
